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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                   8:05CR164
       vs.                                     )
                                               )       ORDER CONTINUING TRIAL
JEFFREY R. CRESSON and                         )
JOHN S. CRESSON,                               )
                                               )
                     Defendants.


        This matter is before the court on the motion of John S. Cresson to continue trial, now
set for June 28, 2005 (#17). Defendant has filed a waiver of speedy trial (#18). For good
cause shown, I find that the motion should be granted. Trial of this matter will be continued
to the next available trial setting.

      IT IS ORDERED that defendant’s Motion to Continue Trial (#17) is granted, as
follows:

      1. The trial of this case is continued to Tuesday, July 26, 2005 before Judge Laurie
Smith Camp and a jury as to all defendants.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between June 28, 2005 and July 26,
2005, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act because defense counsel requires additional time to prepare the case for
trial. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).

       DATED June 22, 2005.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
